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                    EASTERN DISTRICT OF TEXAS

                                  No. 6:24-cv-00219

                                 Rodney Warren,
                                     Plaintiff,
                                         v.
                   Steele West Texas Capital Corporation et al.,
                                   Defendants.


                                      ORDER

              On June 17, this case was transferred into this district from the
          Northern District of Texas for possible referral to the bankruptcy
          court. Doc. 29. United States District Judge James Wesley Hen-
          drix determined that this case is related to In re Steele West Texas
          Capital Corporation, No. 24-60053, a bankruptcy pending before
          United States Bankruptcy Judge Joshua P. Searcy.
              District courts have the authority to provide that proceedings
          “arising in or related to a case under title 11 shall be referred to
          the bankruptcy judges for the district.” 28 U.S.C. § 157(a). The
          United States District Court for the Eastern District of Texas has
          done so. See GO 84-08-06, General Order Re Reference of Bank-
          ruptcy Cases and Proceedings Nunc Pro Tunc (Aug. 6, 1984). Ac-
          cordingly, for the reasons contained in Judge Hendrix’s transfer
          order (Doc. 29), the court finds that this case is related to a case
          under title 11 and refers this case to the Honorable Joshua P.
          Searcy, Bankruptcy Judge for the United States Bankruptcy Court
          for the Eastern District of Texas, for all further proceedings.
                                      So ordered by the court on July 22, 2024.



                                              J. C A M P BE L L B A R K E R
                                              United States District Judge
